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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )              CASE NO. 8:05CR254
                                                )
              Plaintiff,                        )
                                                )                 MEMORANDUM
              vs.                               )                  AND ORDER
                                                )
MICHAEL HAMBRIGHT,                              )
                                                )
              Defendant.                        )

       This matter is before the Court on the motion filed on behalf of the Defendant,

Michael Hambright, to vacate, set aside, or correct his sentence pursuant to 28 U.S.C. §

2255 (“§ 2255 motion”) (Filing No. 93) and the Defendant’s motions for leave to proceed

in forma pauperis (Filing No. 95) and to appoint counsel (Filing No. 97).

       Rule 4(b) of the Rules Governing Section 2255 Proceedings for the United States

District Courts requires initial review of a § 2255 motion, and describes the initial review

process:

       The judge who receives the motion must promptly examine it. If it plainly
       appears from the motion, any attached exhibits, and the record of prior
       proceedings that the moving party is not entitled to relief, the judge must
       dismiss the motion and direct the clerk to notify the moving party. If the
       motion is not dismissed, the judge must order the United States attorney to
       file an answer, motion, or other response within a fixed time, or to take other
       action the judge may order.

       Judgment was entered on February 8, 2006. (Filing No. 72.) The Defendant did not

file a direct appeal. The deadline for the filing of a petition for writ of certiorari was May 9,

2006. Under 28 U.S.C. § 2255, a defendant has one year to file a § 2255 motion from “the

date on which the judgment of conviction becomes final.” Therefore, the one-year period

in this case began to run on May 9, 2006. Campbell-Fabela v. United States, 339 F.3d
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993, 993-94 (8th Cir. 2003). Because the Defendant’s § 2255 motion was filed on

December 17, 2007, the motion is untimely.

      IT IS ORDERED:

      1.     The Court has completed the initial review of the Defendant’s motion to

vacate, set aside, or correct his sentence pursuant to 28 U.S.C. § 2255 (Filing No. 93);

      2.     Upon initial review, the Court summarily denies the Defendant's § 2255

motion as untimely, and therefore the motion (Filing No. 93) is summarily denied;

      3.     The Defendant’s motion for leave to proceed in forma pauperis (Filing No.

95) is denied as moot;

      4.     The Defendant’s motion to appoint counsel (Filing No. 97) is denied as moot;

      5.     A separate Judgment will be issued denying the § 2255 motion; and

      6.     The Clerk is directed to mail a copy of this Memorandum and Order to the

Defendant at his last known address.

      DATED this 30th day of January, 2008.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                United States District Judge




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